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                    UNITED STATES DISTRICT COURT

                   EASTERN DISTRICT OF MICHIGAN

   DEANNA RASNICK,
   DEVONNA BARRY and              )
   AMADO MARTINEZ                 )
   Plaintiffs,                    )
                                  )
   v.                             )
                                  )
   CITY OF DETROIT POLICE         )
   OFFICER WILLIAM MORRISON, )
   CITY OF DETROIT POLICE         )
   OFFICER SAMUEL GALLOWAY, )
   CITY OF DETROIT POLICE         )
   SGT. MARCUS WAYS               )
   SGT. SAMUEL MACKEY             )
   SGT. DETRICK MOTT              )
   CITY OF DETROIT POLICE         )
   OFFICER JOHN DOE #1,           )
   CITY OF DETROIT POLICE         )
   OFFICER JOHN DOE #2,           )
   CITY OF DETROIT POLICE         )
   OFFICER JOHN DOE #3,           )
   CITY OF DETROIT POLICE         )
   OFFICER JOHN DOE #4,           )
   CITY OF DETROIT POLICE         )
   OFFICER JOHN DOE #5,           )
   CITY OF DETROIT POLICE         )
   OFFICER JOHN DOE #6,           )
   CITY OF DETROIT POLICE         )
   OFFICER JOHN DOE #7,           )
   Defendants.                    )
   _____________________________________________________________/

          FIRST AMENDED COMPLAINT AND JURY DEMAND
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           Pursuant to Fed. R. Civ. P. 15(a)(2) and Defendants’ counsel’s consent

   to this filing, Plaintiffs Deanna Rasnick (“Rasnick”), Devonna Barry and

   Amado Martinez (“Martinez”), by and through their attorneys, Olson PLLC,

   state the following for their First Amended Complaint:

           1.    This is a civil action arising under 42 U.S.C. § 1983 and common

   law avenues of recovery for deprivations of Plaintiff’s rights.

           2.    Plaintiffs sue Detroit police officers William Morrison

   (“Morrison”), Samuel Galloway (“Galloway”), John Doe #1-7 (collectively

   “John Doe Defendants”) and Detroit Police Sgts. Marcus Ways (“Ways”),

   Samuel Mackey (“Mackey”) and Detrick Mott ( collectively the “Individual

   Defendants”) in their individual capacity.

                                 JURISDICTION

           3.    Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §

   1331.




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                                        VENUE

         4.       Venue is proper under 28 U.S.C. § 1391(b).

         5.       At all times relevant herein, Plaintiffs each resided in and were a

   citizens of the City of Detroit, County of Wayne, and state of Michigan.

         6.       The incident giving rise to this case occurred in Wayne,

   Michigan.

         7.       The Individual Defendants acted under color of State law and are

   “persons” for purposes of a 42 U.S.C. § 1983 action.

         8.       Defendant City is a political subdivision of the State of Michigan

   acting under color of State law, and is a person for purposes of a 42 U.S.C. §

   1983 action.

                              COLOR OF STATE LAW

         9.       At all times relevant herein, Defendants acted under color of state

   law including statutes, ordinances, regulations, policies, customs and usages

   of the State of Michigan.




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                          FACTUAL BACKGROUND

         10.   On or about August 8, 2017, Plaintiff Rasnick, owned a dog

   named Tori (“Tori”).

         11.   On or about August 8, 2017, Plaintiff Rasnick resided 3640

   Clippert Street, Detroit, Michigan 48210 (“Rasnick Residence”) with her son

   Antonio Torres (“Antonio”), who was seven-years old at that time, her dog

   Tori, and her brother Dustin Rasnick (“Dustin”).

         12.   On August 8, 2017, Plaintiff Martinez resided at 3647 Clippert

   Street, Detroit, Michigan 48210 with his girlfriend Plaintiff Devonna

   Elizabeth Barry (“Devonna”), a former City of Detroit police officer.

         13.   On August 8, 2017, the Individual Defendants were operating as

   part of the City of Detroit Major Violators Unit, except for Defendants Ways,

   Mackey and Mott, who were working Homicide at the time.

         14.   On August 8, 2017, on information and belief, the Individual

   Defendants obtained a warrant to search for 3647 Clippert Street for firearms

   capable of firing .40 caliber ammunition in connection with a homicide

   investigation of the death of Michael Mancini a/k/a Jesus Moran (“Moran”).

         15.   According to an August 8, 2017 Affidavit sworn by Defendant

   Marcus Ways (“Ways Affidavit”), the police were investigating the homicide




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   of Jesus Moran who Ways alleged was shot to death in the early morning

   hours of July 22, 2017 in the City of Detroit.

         16.    The Ways Affidavit states that on July 31, 2017, Ways spoke

   with a confidential Michigan State Police informant, who stated to Ways that

   one Nikko Kempf (“Kempf”) bragged to the informant that Kempf got into a

   shootout with Moran.

         17.    The Ways Affidavit further states that the informant stated that

   Kempf told the informant that Kempf used his .40 caliber handgun to commit

   the shooting.

         18.    The Ways Affidavit further states that the informant stated that

   Kempf’s mother still had the gun that Kempf used to kill Moran and was

   actively trying to sell that gun.

         19.    The Ways Affidavit further states that the Kempf was arrested by

   Flat Rock police on July 28, 2017.

         20.    The Ways Affidavit states that a search of Kempf’s residence

   yielded two extended .40 caliber magazines but no firearm.

         21.    The Ways Affidavit states that Ways listened to recordings of

   Kempf’s phone calls from the Wayne County Jail to a person that Kempf

   referred to as “Squeak” in which Squeak stated that he still had the “40

   weight” and was looking for a buyer.



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         22.     The Ways Affidavit states that Squeak asked Kempf to add

   Squeak to Kempf’s visitor list.

         23.     The Ways Affidavit states that Squeak provided Kempf his

   address of 3647 Clippert Street.

         24.     The Ways Affidavit states that the Wayne County Jail records

   show a specific telephone for Squeak’s call with Kempf.

         25.     The Ways Affidavit states that a recording of a call between

   Kempf and his mother reflected that Kempf asked his mother if she had heard

   from Squeak and that his mother stated that Squeak’s new number is the same

   number showing on the Wayne County Jail records of the call between Kempf

   and Squeak.

         26.     The Ways Affidavit states that Defendant Ways conducted a

   LEIN search of 3647 Clippert Street and “came across Dustin Rasnick w/m

   8-31-94.”

         27.     As shown further below, Dustin Rasnick is not Squeak and never

   was Squeak.

         28.     The Ways Affidavit states that a search warrant of 3647 Clippert

   Street was executed that gave police authority to search for any firearms

   capable of firing .40 caliber rounds.




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         29.    The Ways Affidavit makes no mention of a raid on 3640 Clippert

   Street.

         30.    On information and belief, Detroit Homicide Investigators

   believed that Moran’s murderer used a .40 caliber hand gun to shoot Moran

   to death.

                      THE RAID ON 3640 CLIPPERT STREET

         31.    However, notwithstanding the fact that the Individual

   Defendants were looking for weapons capable of firing .40 caliber

   ammunition at 3647 Clippert Street, the Individual Defendants first raided

   Plaintiff Deanna Rasnick’s residence at 3640 Clippert Street, which is located

   across the street from Plaintiffs’ Devonna Barry and Amado Martinez’ 3647

   Clippert Street residence.

         32.    Plaintiff Devonna Barry and Plaintiff Deanna Rasnick are sisters.

         33.    In any event, on August 8, 2017, the Individual Defendants

   raided Plaintiff Deanna Rasnick’s residence first – before the Individual

   Defendants raided Plaintiffs’ Barry and Martinez’s home.

         34.    On information and belief, police did not have probable cause to

   raid Plaintiff Rasnick’s home. In particular, the only facts that tied Dustin

   Rasnick to 3640 Clippert Street were (i) that a confidential informant dropped




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   Rasnick off at that address at some unnamed time and (ii) tax records reflected

   that Deanna Rasnick owns the home at 3640 Clippert Street.

           35.   Nevertheless, the Individual Defendants broke in Plaintiff

   Rasnick’s front door without knocking or identifying themselves as police

   officers.

           36.   On information and belief, Defendant Galloway or another of the

   Individual Defendants immediately shot Plaintiff Rasnick’s dog, Tori, who

   had been sleeping on the floor in front of Plaintiff’s Rasnick’s bedroom door.

           37.   At the time the Individual Defendants broke down Plaintiff

   Rasnick’s front door, Plaintiff Rasnick was in her bedroom on the phone with

   her sister Plaintiff Barry.

           38.   Plaintiff Rasnick’s bedroom door is on the left side of the living

   room as one enters that home.

           39.   Plaintiff Rasnick’s dog Tori was sleeping in Rasnick’s bedroom

   doorway when Galloway or another one of the Individual Defendants shot

   Tori.

           40.   Plaintiff Rasnick opened her bedroom door and Tori was at her

   feet, sleeping.

           41.   Plaintiff Rasnick heard gunfire.




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           42.   Tori did not make a single move towards her shooter or even bark

   before she was shot by Defendant Galloway or another of the Individual

   Defendants.

           43.   Plaintiff Rasnick looked down and saw her dog Tory with bullet

   hole in her side, behind her shoulder.

           44.   Police officers then snatched Plaintiff Rasnick’s phone from her

   hands.

           45.   Police officers then forced Plaintiff Rasnick and her son, Antonio

   Torres who was seven years old at the time, and Plaintiff Rasnick’s two -year

   old nephew (Emilio Rasnick) to sit on the couch in full view of Tori, who was

   bleeding out onto the floor.

           46.   Plaintiff Rasnick and her daughter Olivia (aged 9) both asked the

   Individual Defendants to allow them to take Tori to the veterinarian for

   treatment for the gunshot wound but the Individual Defendants refused.

           47.   Some of the Individual Defendants laughed and joked while Tori

   died.

           48.   Plaintiff Rasnick asked the Individual Defendants to cover up her

   dog dying in front of her young child and nephew, which the Individual

   Defendants refused to do.




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          49.      One of the Individual Defendants, who on information and belief

   was William Morrison, occasionally kicked Tori to see if she was dead.

          50.      Tori died in front of Plaintiff, her seven year old son, her nine

   year old daughter and her two year old nephew.

          51.      One of the Individual Defendants, who on information and belief

   was Defendant Morrison, then grabbed Tori by the legs and threw her into a

   plastic tote.

          52.      On information and belief, the Individual Defendants transported

   Tori to Detroit Animal Control.

          53.      The Individual Defendants search of Plaintiff Rasnick’s home

   was unreasonable per se because it was without probable cause.

          54.      The Individual Defendants’ seizure of Plaintiff Rasnick’s dog

   was objectively unreasonable because under the circumstances described

   above, Tori did not present an imminent threat of harm to anyone prior to

   being shot under color of state law.

          55.      On information and belief, the Individual Defendants had no

   training with respect to dog encounters.

          56.      Such training is available, for free, through the United States

   Department of Justice Community Oriented Policing Services.




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           57.   The Individual Defendants did not find any weapons capable of

   firing .40 caliber weapons at 3640 Clippert Street. Indeed, the only thing the

   search of 3640 produced was two shell casings from shooting Rasnick’s dog

   Tori.

           58.   Plaintiff sought information regarding the incident giving rise to

   this case, including the identity of the Individual Defendants, through a

   Freedom of Information Act (“FOIA”) request.

           59.   However, the City of Detroit effectively rejected the request

   when it asserted that it could not produce the requested information due to the

   Covid-19 global pandemic.

           60.   Accordingly, Plaintiffs initiated this matter against “John Doe”

   Defendants.

                       THE RAID ON 3647 CLIPPERT STREET

           61.   After the raid on 3640 Clippert Street, on August 8, 2017 the

   Individual Defendants next raided Plaintiff Martinez and Barry’s home at

   3647 Clippert Street.

           62.   The Individual Defendants did not knock or identify themselves

   prior to breaking open Plaintiff Martinez and Barry’s door.




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         63.   The Individual Defendants applied excessive force to Plaintiff

   Martinez when they slammed him into the floor once before they hand cuffed

   him and once after they handcuffed him.

         64.   Defendant Mott applied excessive force to Plaintiff during while

   interrogating Plaintiff Martinez when Mott struck Martinez in the chest with

   his hand.

         65.   The Individual Defendants searched Plaintiff Martinez and

   Plaintiff Barry’s home.

         66.   The Individual Defendants unlawfully seized $2,000 in cash.

         67.   The Individual Defendants unlawfully seized 1 glass mason jar

   containing marijuana for which Martinez and Barry each had medical

   marijuana cards.

         68.   The Individual Defendants unlawfully seized Plaintiff Barry’s

   Detroit Police Badge #631.

         69.   The Badge that was seized was a novelty badge and not a

   department issued badge.

         70.   The Individual Defendants unlawfully seized Plaintiff Barry’s

   licensed and registered .380 caliber handgun.

         71.   The Individual Defendants unlawfully seized Plaintiff Barry’s

   sex toys.



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         72.    The Individual Defendants unlawfully destroyed Plaintiff

   Martinez and Plaintiff Barry’s house.

         73.    Plaintiff Barry’s licensed and registered .380 caliber handgun

   was not capable of firing .40 caliber ammunition.

         74.    The Individual Defendants unlawfully seized Plaintiff Martinez

   and Plaintiff Barry’s hard drive that contained video footage of the Individual

   Defendants raiding their home.

         75.    The Individual Defendants unlawfully seized Plaintiff Martinez

   and Plaintiff Barry’s Fire Stick streaming device.

         76.    The    Individual   Defendants     unlawfully    seized    Plaintiff

   Martinez’s driver’s license.

         77.    The Individual Defendants wrongfully seized Plaintiff Barry and

   Plaintiff Martinez property when they followed Defendant Mott’s order to

   “tear up” the house.

         78.    The Individual Defendants wrongfully arrested Plaintiff

   Martinez for felon in possession of a firearm that was lawfully owned and

   possessed by his girlfriend, Plaintiff Barry, a former Detroit police officer.

         79.    There was no probable cause to arrest or incarcerate Plaintiff

   Martinez.




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         80.    Plaintiff Martinez was then unlawfully incarcerated and

   prosecuted for possession of firearm by a felon, felony firearm and possession

   of marijuana.

         81.    Defendant Mott subsequently interrogated Dustin Rasnick about

   the jail house telephone call recordings that were the basis of these raids and

   admitted to Rasnick that it was not Rasnick’s voice on the recordings.

         82.    Defendant Mott also admitted to Dustin Rasnick that a computer

   program misidentified the voice on the recordings as Dustin Rasnick’s.

         83.    On May 9, 2018, Judge Dalton A. Roberson conducted a bench

   trial after which he granted a motion for directed verdict and dismissed all

   charges.

         84.    Plaintiffs Martinez and Barry requested the City of Detroit police

   return the property that the Individual Defendants illegally seized.

         85.    The City of Detroit refused to return Plaintiff’s property.

                                COUNT I
                    VIOLATIONS OF CIVIL RIGHTS
           42 U.S.C. § 1983 AND THE FOURTH AMENDMENT
              AGAINST THE INDIVIDUAL DEFENDANTS
        FOR COMPENSATORY DAMAGES, PUNITIVE DAMAGES
                         AND ATTORNEY’S FEES

         86.    Plaintiffs re-alleges all of the preceding paragraphs.

         87.    “The Fourth Amendment of the United States Constitution, U.S.

   Const. amend. IV, protects the individual's privacy in a variety of settings. In


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   none is the zone of privacy more clearly defined than when bounded by the

   unambiguous physical dimensions of an individual's home--a zone that finds

   its roots in clear and specific constitutional terms: “The right of the people to

   be secure in their ... houses ... shall not be violated.” In terms that apply

   equally to seizures of property and to seizures of persons, the Fourth

   Amendment has drawn a firm line at the entrance to the house. Absent

   exigent circumstances, that threshold may not reasonably be crossed without

   a warrant.” Payton v. New York, 445 U.S. 573, 589-90 (1980).

         88.     The search Plaintiff Rasnick’s home without a warrant was

   presumptively unreasonable. Id. at 586; Georgia v. Randolph, 547 U.S. 103,

   120 (2006).

         89.     The Individual Defendants detention of Plaintiff Deanna Rasnick

   was an unreasonable seizure of Plaintiff because, inter alia, (i) there was no

   reasonable suspicion of her and (ii) there was no warrant.

         90.     The seizure of Plaintiff under these circumstances was

   unreasonable. Terry v. Ohio, 392 U.S. 1, 16 (1968).

         91.     The Fourth Amendment of the United States Constitution, U.S.

   Const. amend. IV, prohibits the government from unreasonably seizing a

   citizen’s property.




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          92.    “The destruction of property by state officials poses as much of

   a threat, if not more, to people's right to be 'secure . . . in their effects' as does

   the physical taking of them.” Fuller v. Vines, 36 F.3d 65, 68 (9th Cir. 1994),

   overruled on other grounds, Robinson v. Solano County, 278 F.3d 1007, 1013

   (9th Cir. 2002) (citation omitted).

          93.    An individual has a Fourth Amendment property right in their

   pets. San Jose Charter of the Hell’s Angels Motorcycle Club v. City of San

   Jose, 402 F.3d 962, 977-78 (9th Cir. 2005); Brown v. Battle Creek Police

   Department, 844 F.3d 556, 568 (6th Cir. 2016).

          94.    That an individual has a property right in their pets was clearly

   established in 2013. Brown, 844 F.3d at 567.

          95.    Pets are more than just a personal effect. San Jose, 402 F.3d at

   975.

          96.    The emotional attachment to a pet is not comparable to a

   possessory interest in furniture or other inanimate property. Id.

          97.    Indeed, Plaintiff Rasnick’s Fourth Amendment interests

   involved are substantial because the bond between an owner and their pet is

   strong and enduring and Plaintiff thinks of their pet “in terms of an emotional

   relationship, rather than a property relationship.” Altman v. City of High Point,

   N.C., 330 F.3d 194, 205 (4th Cir. 2003).



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          98.      The Individual Defendants’ acts described herein were

   intentional, grossly negligent and amounted to reckless or callous indifference

   to Plaintiff’s constitutional rights.

          99.      The Individual Defendant’s seizure of Tori was objectively

   unreasonable.

          100. No exigent circumstances warranted the intrusion involved in

   this case.

          101. No governmental interest justifies the search or seizure involved

   in this case.

                              COMPENSATORY DAMAGES

          102. Under 42 U.S.C. § 1983 Plaintiff Rasnick is entitled to an award

   of compensatory damages against each Defendant in his individual capacity,

   which includes “damages for the emotional distress suffered by Plaintiffs . . .

   and any other injury that is the result of . . . the unlawful seizure of” dog.

   Moreno v. Hughes, 157 F.Supp.3d 687, 692 (E.D. Mich. 2016).

                                 PUNITIVE DAMAGES

          103. The Individual Defendants’ actions were:

                   a.   Reckless;

                   b.   Showed callous indifference toward the rights of Plaintiff;

                        and



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               c.     Were taken in the face of a perceived risk that the actions

                      would violate federal law.

         104. Plaintiff Rasnick is entitled to an award of punitive damages

   against the Individual Defendants in their individual capacity, in order to

   punish him and to deter others.

                                ATTORNEY’S FEES

         105. Under 42 U.S.C. § 1988, if Plaintiff Rasnick is the prevailing

   party in this litigation, then she will be entitled to receive an award of

   reasonable attorney’s fees, non-taxable expenses and costs.

         THEREFORE, Plaintiff Rasnick prays for judgment under 42 U.S.C. §

   1983 and 1988 against the Individual Defendants in their individual capacity,

   for compensatory damages in a fair and reasonable amount, for punitive

   damages, for reasonable attorney’s fees, for and non-taxable expenses, for

   costs, and Plaintiff prays for such other relief as may be just under the

   circumstances and consistent with the purpose of 42 U.S.C. § 1983.

                               COUNT II
                    VIOLATIONS OF CIVIL RIGHTS
           42 U.S.C. § 1983 AND THE FOURTH AMENDMENT
              AGAINST THE INDIVIDUAL DEFENDANTS
        FOR COMPENSATORY DAMAGES, PUNITIVE DAMAGES
                         AND ATTORNEY’S FEES

         106. Plaintiffs re-allege all of the preceding paragraphs.




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         107. “The Fourth Amendment of the United States Constitution, U.S.

   Const. amend. IV, protects the individual's privacy in a variety of settings. In

   none is the zone of privacy more clearly defined than when bounded by the

   unambiguous physical dimensions of an individual's home--a zone that finds

   its roots in clear and specific constitutional terms: “The right of the people to

   be secure in their ... houses ... shall not be violated.” In terms that apply

   equally to seizures of property and to seizures of persons, the Fourth

   Amendment has drawn a firm line at the entrance to the house. Absent

   exigent circumstances, that threshold may not reasonably be crossed without

   a warrant.” Payton v. New York, 445 U.S. 573, 589-90 (1980).

         108. The Individual Defendants’ arrest of Plaintiff Amado Martinez

   was an unreasonable seizure because inter alia there was no reasonable

   suspicion of Martinez illegally possessing a firearm that was registered and

   licensed to Plaintiff Devonna Barry who was known by the Individual

   Defendants to be a former Detroit police officer.

         109. The seizure of Plaintiff Martinez under these circumstances was

   unreasonable. Terry v. Ohio, 392 U.S. 1, 16 (1968).

         110. The Fourth Amendment of the United States Constitution, U.S.

   Const. amend. IV, prohibits the government from unreasonably seizing a

   citizen’s property.



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             111. “The destruction of property by state officials poses as much of

   a threat, if not more, to people's right to be 'secure . . . in their effects' as does

   the physical taking of them.” Fuller v. Vines, 36 F.3d 65, 68 (9th Cir. 1994),

   overruled on other grounds, Robinson v. Solano County, 278 F.3d 1007, 1013

   (9th Cir. 2002) (citation omitted).

             112. The Individual Defendants seizure of Plaintiffs Martinez and

   Barry’s property under the circumstances was unreasonable because (i) none

   of the seized property was identified on a warrant, (ii) Plaintiffs Martinez and

   Barry legally possessed the medical marijuana pursuant to valid medical

   marijuana cards and (iii) Plaintiff Barry legally possessed the .380 handgun

   pursuant to valid license and registration.

             113. The unreasonable seizure of Plaintiff Martinez and Barry’s

   property violated their Fourth Amendment rights.

             114. The Individual Defendants’ application of excessive force upon

   Plaintiff Martinez was unreasonable and violated his Fourth Amendment

   rights.

             115. The Individual Defendants’ unreasonable destruction of

   Plaintiffs Martinez and Barry’s property violated their Fourth Amendment

   rights.




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          116. The Individual Defendants’ acts described herein were

   intentional, grossly negligent and amounted to reckless or callous indifference

   to Plaintiff’s constitutional rights.

          117. No exigent circumstances warranted the intrusion involved in

   this case.

          118. No governmental interest justifies the searches or seizures

   involved in this case.

                              COMPENSATORY DAMAGES

          119. Under 42 U.S.C. § 1983 Plaintiffs Martinez and Barry are

   entitled to an award of compensatory damages against each Individual

   Defendant in their individual capacity, which includes damages for the

   emotional distress suffered by Plaintiffs . . . and any other injury that is the

   result of . . . the Constitutional violations alleged here.

                                 PUNITIVE DAMAGES

          120. The Individual Defendants’ actions were:

                 d.     Reckless;

                 e.     Showed callous indifference toward the rights of Plaintiff;

                        and

                 f.     Were taken in the face of a perceived risk that the actions

                        would violate federal law.



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           121. Plaintiffs Martinez and Barry are entitled to an award of punitive

   damages against the Individual Defendants in their individual capacity, in

   order to punish him and to deter others.

                                  ATTORNEY’S FEES

           122. Under 42 U.S.C. § 1988, if Plaintiffs Martinez and Barry are the

   prevailing party in this litigation, then she will be entitled to receive an award

   of reasonable attorney’s fees, non-taxable expenses and costs.

           THEREFORE, Plaintiffs Martinez and Rasnick prays for judgment under

   42 U.S.C. § 1983 and 1988 against the Individual Defendants in their

   individual capacity, for compensatory damages in a fair and reasonable

   amount, for punitive damages, for reasonable attorney’s fees, for and non-

   taxable expenses, for costs, and Plaintiff prays for such other relief as may be

   just under the circumstances and consistent with the purpose of 42 U.S.C. §

   1983.

                                    COUNT III
                                   CONVERSION

           75.   Plaintiffs repeat their prior allegations.

           76.   "Conversion is any distinct act of dominion wrongfully exerted

   over another's personal property in denial of or inconsistent with his rights

   therein." Thoma v. Tracy Motor Sales, Inc., 360 Mich. 434, 438

   (1960)(quoting Nelson & Witt v. Texas Co., 256 Mich. 65, 70)).


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         77.    The Individual Defendants’ actions were a distinct act of

   dominion wrongfully exerted over Plaintiffs’ property in denial of or

   inconsistent with their rights.

         THEREFORE, Plaintiffs request relief under applicable law or in equity,

   including, without limitation, a judgment and an award of statutory treble

   damages and all reasonable costs, interest and attorney fees. M.C.L. §

   600.2919a.

                          COUNT IV
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

         78.    Plaintiffs incorporate their prior allegations.

         79.    The Individual Defendants’ conduct described herein was

   extreme and outrageous conduct because it was beyond all possible bounds of

   decency and could be regarded as atrocious and utterly intolerable in a

   civilized community and would (and in fact has) cause an average member of

   the community would . . . exclaim, “Outrageous!”

         80.    The Individual Defendants’ actions described herein were

   intentional or reckless

         81.    The Individual Defendants’ actions caused Plaintiffs severe

   emotional distress so severe that no reasonable person could be expected to

   endure it, including without limitation, severe horror, grief and anger over the




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   loss of her dogs, nausea, inability to eat, loss of sleep, inability to concentrate

   among others. Haverbush v. Powelson, 217 Mich. App. 228, 234-35 (1996).

         THEREFORE, Plaintiffs request a judgment for damages, exemplary

   damages, reasonable attorneys’ fees and costs and any other relief that the

   Court deems just and equitable.

                                     Respectfully submitted,

                                     Olson PLLC



                                     /s/ Christopher S. Olson_______
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                             DEMAND FOR JURY TRIAL

         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs

   demand trial by jury in this action of all issues so triable.


                                     Respectfully submitted,

                                     Olson PLLC



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